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  4
      Attorneys for: Defendant Elsie Wynn
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  7
  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
 10
 11   Chris Langer,                             )    Case No. 2:18-cv-05738-JFW-PJW
                                                )
 12                         Plaintiff           )    JUDGE: Hon. John F. Walter
                                                )    Magistrate: Hon Patrick J. Walsh
 13   v.                                        )
                                                )    DECLARATION OF LEAD
 14   Elsie I Wynn, in individual and           )    COUNSEL JEFF SPELLERBERG RE:
      representative capacity as trustee of the )    COMPLIANCE WITH LOCAL RULE
 15   Wynn Family Trust dated June 19, 2003; )       REGARDING ELECTRONIC FILING
      James Robert Harmelin; and DOES 1 - 10 )
 16                                             )
                         Defendants             )
 17                                             )
 18
      I, Jeffery K. Spellerberg, declare:
 19
            1. I am an attorney duly licensed to practice law before all the courts of
 20
      the State of California and the attorney of record for defendant Elsie I. Wynn,,
 21
      and individual and Elsie I . Wynn, trustee of the Wynn Family Trust date June
 22
      19, 2013 and Elsie I. Wynn, as Trustee of the Elsie I. and Jerry G. Wynn Inter
 23
      Vivos Trust, a California Trust.
 24
 25
 26
 27                          DECLARATION OF LEAD COUNSEL -1-
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  1         2. I am the lead counsel for the Defendant, Elsie I. Wynn, and individual
  2   and Elsie I . Wynn, trustee.
  3         3. I am a registered CM/ECF user in the United States District Court for
  4   the Central District of California
  5         4. My email address of record is jeffspellerberg@gmail.com and I have
  6   consented to service and receipt of filed documents by electronic means.
  7
  8         I declare under penalty of perjury under the laws of the United States that
  9   the foregoing is true and correct.
 10         Executed this 2nd day of October, 2018
 11
 12                                                /s/ Jeffery K. Spellerberg
                                                   JEFFERY K. SPELLERBERG
 13                                                Attorney for the Defendant
 14                                                Elsie I. Wynn, as individual
                                                   and trustee
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 27                          DECLARATION OF LEAD COUNSEL -2-
